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 1
     Paul J. Cambria, Jr. (NY 15873, admitted pro hac vice)
 2   Erin E. McCampbell (NY 4480166, admitted pro hac vice)
     LIPSITZ GREEN SCIME CAMBRIA LLP
 3   42 Delaware Avenue, Suite 120
 4   Buffalo, New York 14202
     Telephone: (716) 849-1333
 5   Facsimile: (716) 855-1580
     pcambria@lglaw.com
 6
     emccampbell@lglaw.com
 7   Attorneys for Defendant Michael Lacey

 8
                              IN THE UNITED STATES DISTRICT COURT
 9                                FOR THE DISTRICT OF ARIZONA
10

11   United States of America,                      NO. CR-18-00422-PHX-SMB

12                        Plaintiff,                DEFENDANTS’ MOTION TO
     vs.                                            SUPPRESS
13

14   Michael Lacey, et al.,                         (Oral argument requested)

15                     Defendants.
16

17

18

19

20          Defendants Michael Lacey, James Larkin, John Brunst, Scott Spear, Andrew Padilla, and
21   Joye Vaught, by and through their undersigned attorneys, move to suppress evidence obtained
22   from execution of a search warrant at Datto, Inc., an email provider, because the warrant is
23   facially invalid under the Fourth Amendment.       This Motion is based on the attached
24   Memorandum of Points and Authorities, the Court’s file, and any evidence or argument
25   presented at the hearing on this matter.
26

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 1          Excludable delay under 18 U.S.C. § 3161(h)(1) may occur as a result of this Motion or
 2   of an order based on this Motion.
 3
            RESPECTFULLY SUBMITTED this 23rd day of December, 2019,
 4

 5
     DATED: December 23, 2019            Paul J. Cambria, Jr.
 6
                                         Erin E. McCampbell
 7                                       LIPSITZ GREEN SCIME CAMBRIA LLP
 8
                                         By:   /s/ Paul J. Cambria, Jr.
 9                                             Paul J. Cambria, Jr.
                                               Attorneys for Michael Lacey
10

11
     DATED: December 23, 2019            Thomas H. Bienert, Jr.
12                                       Whitney Z. Bernstein
                                         BIENERT KATZMAN, PLC
13

14                                       By:   /s/ Whitney Z. Bernstein
                                               Whitney Z. Bernstein
15                                             Attorneys for James Larkin
16

17   DATED: December 23, 2019            Bruce Feder
                                         FEDER LAW OFFICE, P.A.
18

19                                       By:   /s/ Bruce Feder
                                               Bruce Feder
20                                             Attorneys for Scott Spear
21

22   DATED: December 23, 2019            Joy Bertrand
                                         JOY BERTRAND, ESQ.
23

24                                       By:   /s/ Joy Bertrand
                                               Joy Bertrand
25                                             Attorneys for Joye Vaught
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 1   DATED: December 23, 2019    David Eisenberg
 2                               DAVID EISENBERG, P.L.C.

 3                               By:   /s/ David Eisenberg
                                       David Eisenberg
 4
                                       Attorneys for Andrew Padilla
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 1                     MEMORANDUM OF POINTS AND AUTHORITIES
 2          Michael Lacey, James Larkin, John Brunst, Scott Spear, Andrew Padilla, and Joye
 3   Vaught move for an order suppressing evidence obtained from execution of a warrant
 4   authorizing the government to seize and search certain email accounts stored at a facility owned
 5   and operated by from Datto, Inc. (“Datto”), an email provider (“Datto Warrant”). The Datto
 6   Warrant is facially invalid for several reasons as set forth below.
 7                                          BACKGROUND
 8   I.     The government obtains and executes the Datto Warrant.
 9          On August 31, 2018, the government obtained the Datto Warrant, which authorized it to
10   obtain all information associated with twenty-six Backpage-related email addresses stored at the
11   facility owned and operated by Datto. (A true and correct copy of the Datto Warrant is attached
12   hereto as Ex. A.)1 The Datto Warrant ordered Datto to disclose the contents of all email
13   associated with the accounts for the period 2004-2018. The government was then authorized to
14   seize all information that constitutes fruits, evidence and instrumentalities of violations of 18
15   U.S.C. §§ 371, 1952, 1956, and 1957 for the period 2004-2018, including, among other things:
16

17
          • Correspondence and files regarding “Backpage.com, related companies and websites
            (including partner sites), their control, finances, and operations” (id. ¶ II.1.a);
18        • Correspondence and files regarding the “sale of Backpage.com and related entities” (id.
            ¶ II.1.b); and
19
          • Bank and financial information concerning “Backpage.com or related business entities,
20          including holding companies” (id. ¶ II.2.).

21
            Once the government received the evidence, the Datto Warrant authorized a filter team
22
     to review the documents and to disseminate only non-privileged and non-protected documents
23
     to the investigation team, which then would determine which documents constituted evidence
24
     of unlawful activity. (Id.)
25

26

27   1
            The Datto Warrant was issued under Arizona Docket No. 18-8364 MB.
28                                                    4
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 1           The government’s application for the Datto Warrant was supported by an affidavit from
 2   I.R.S. Special Agent-Computer Information Specialist Richard Robinson (“Robinson
 3   Affidavit”). (A true and correct copy of the Robinson Affidavit is attached hereto as Ex. B.)
 4   The superseding indictment, which was the operative indictment at that time (and now), was
 5   attached and incorporated by reference. Robinson noted that the superseding indictment charged
 6   Defendants with violations of 18 U.S.C. §§ 371 (Conspiracy), 1952 (Travel Act), 1956 (Money
 7   Laundering), and 1957 (International Money Laundering).
 8           With respect to probable cause, Robinson alleged that Defendants “were knowingly
 9   involved in the facilitation of prostitution and were engaged in money laundering activities.”
10   (Ex. B ¶ IV.1.) The Robinson Affidavit quotes from cooperator Carl Ferrer and Daniel Hyer’s
11   plea agreements where they claim that the “great majority” or “majority” of advertisements
12   posted to Backpage were for prostitution services. (Id. at ¶¶ IV.2, 4.) Robinson discusses
13   aggregation, affiliation, and reciprocal link programs, but does not state how those programs tie
14   to criminality. (Id. at ¶ 5.) For example, he indicates that aggregation involved Backpage
15   employees contacting and providing free advertisements to individuals who posted ads on other
16   websites under “erotic or adult services” categories, but does not connect that conduct to
17   criminality. 2 (Id. at ¶ IV.5.a.) Robinson indicates that Backpage paid referral fees to affiliates,
18   but does not tie this allegation to any criminality. (Id. at ¶ IV.5.b.) Without providing any factual
19   information tying these otherwise lawful marketing techniques to criminality, Robinson
20   concludes that these “strategies were specifically intended to promote and facilitate prostitution.”
21   (Id. at IV.¶ 5.c.)
22           Robinson indicated that “the top 20 or so accounts” generated the majority of the stored
23   email volume, which is why those accounts were targeted by the Datto Warrant, but there is no
24   factual information as to why any of those accounts were believed to be involved in criminality.
25   (Id. at ¶ V.) Robinson identified a handful of companies as subsidiaries of Backpage, and one
26
     2
            Advertisements for adult services or exotic services are not unlawful, but instead
27   are protected expression. See infra 14-15 & n.4.
28                                                    5
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 1   as a parent, but does not state that this list is exhaustive or that it is the complete list of Backpage
 2   “related companies” referenced in the Datto Warrant. (Id. at ¶ IV.3.)
 3          Defendants had an expectation of privacy in their email, regardless of whether their email
 4   was the target of the Datto Warrant or seized due to the Defendants’ communication with an
 5   email account that was the target of the Datto Warrant.
 6   II.    The government’s disclosure of the Datto Warrant.
 7          The government disclosed the Datto Warrant and application to defense counsel as part
 8   of a larger disclosure on September 23, 2019, nearly thirteen months after execution of the
 9   warrant, more than six months after the discovery cut-off deadline, and less than one month
10   before the deadline for substantive motions. Although Defendants knew that the Datto Warrant
11   existed, they had not located it. Because defense counsel had not located it, and the substantive
12   motion deadline was approaching, on October 11, 2019, defense counsel emailed counsel for
13   the government, indicating that defense counsel could not locate the Datto Warrant, and asking
14   the government to identify it by Bates Numbers or to disclose it if it had not yet been disclosed.
15   (See Doc. 801-2.) Defense counsel heard nothing from the government prior to the substantive
16   motion deadline, and as a result, requested leave to file a motion upon receipt and review of the
17   Datto Warrant, if necessary. (See Doc. 778 at 8.)
18          In its opposition, the government indicated that it had responded to defense counsel by
19   email on October 11, 2019, disclosing the Datto Warrant and asked this Court to find that
20   Defendants had waived the right to challenge the Datto Warrant. (See Doc. 811 at 4-5.)
21   Although the government has indicated that it emailed defense counsel, none of defense counsel
22   received the government’s email. For example, as set forth in the Affidavit of Michael
23   Sanscrainte, Network Administrator for the undersigned’s law firm, there is no record that this
24   email was received by our email server and, therefore, it was not distributed to any inboxes
25   (attached hereto as Ex. C). This means that the email was either rejected by the email server
26   security service or quarantined for containing a potential threat and quarantined email are only
27   stored for four weeks. (See id.) Under either scenario, the email is not delivered to the inbox of
28                                                      6
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 1   the recipient. (See id.) Consequently, defense counsel did not have any indication that the
 2   government had responded to their email before the substantive motion deadline. (See id.)
 3   Defendants moved for suppression of other warrants, but expressly reserved the right to move
 4   for suppression of the Datto Warrant “upon receipt and review of it.” (Doc. 778 at 8.)
 5                                            ARGUMENT
 6   I.     Defendants did not waive the right to bring this motion.
 7          In their prior Motion to Suppress, Defendants expressly reserved the right to challenge
 8   the Datto Warrant “upon receipt and review of it.” (Doc. 778 at 8.) At the time Defendants filed
 9   that motion, they had been unable to locate the Datto Warrant, and had not received a response
10   from the government to their request to identify it by Bates Numbers or to disclose it. Although
11   it is unfortunate that the government’s email was not delivered to defense counsel, defense
12   counsel did not ignore the government’s email (because they never saw it), or intentionally fail
13   to review the Datto Warrant. Defendants timely challenged every warrant that they had
14   reviewed and determined to be infirm. Defendants would have timely filed a challenge to the
15   Datto Warrant if they had located and reviewed it prior to the substantive motions deadline. For
16   all these reasons, Defendants did not waive the right to bring the instant motion and Defendants
17   respectfully request that this Court consider this motion on its merits.
18   II.    The Datto Warrant violates the probable-cause standard.
19          The Fourth Amendment mandates that “no warrants shall issue, but upon probable cause,
20   supported by oath or affirmation, and particularly describing the place to be searched, and the
21   persons or things to be seized.” U.S. Const. amend. IV. To be valid, a reviewing court must
22   find that the warrant meets four separate requirements: (1) it must be based on probable cause;
23   (2) supported by a sworn affidavit; (3) particularly describe the place to be searched; and (4)
24   particularly describe the persons or things to be seized. See Groh v. Ramirez, 540 U.S. 551, 557
25   (2004). A failure to satisfy even one of these requirements renders a warrant facially invalid.
26   See id. In addition to these requirements, in Franks v. Delaware, 438 U.S. 154 (1978), the
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 1   Supreme Court recognized that a search conducted pursuant to a warrant is invalid if the
 2   supporting affidavit contains material misstatements of fact or omissions.
 3          Under these standards, the Datto Warrant is facially invalid. First, the Datto Warrant fails
 4   the probable-cause requirement because the Robinson Affidavit contains no factual information
 5   that would enable the issuing magistrate to make a neutral and detached probable-cause
 6   determination. Second, the Datto Warrant is insufficiently particular and overbroad. Third,
 7   Defendants are entitled to a Franks hearing because the Datto Warrant contains material
 8   omissions and misrepresentations.
 9          A.      The Fourth Amendment requires that an issuing judge independently
                    assess facts before finding probable cause to search.
10
            For a search warrant to be valid, it must describe the place to be searched and things
11
     to be seized with sufficient particularity and “be no broader than the probable cause on which
12
     it is based.” United States v. Weber, 923 F.2d 1338, 1342 (9th Cir. 1990). A search warrant
13
     is supported by probable cause if the issuing judge finds that “given all the circumstances set
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     forth in the affidavit . . . there is a fair probability that contraband or evidence of a crime will
15
     be found in a particular place.” Illinois v. Gates, 462 U.S. 213, 238 (1983). A search is
16
     invalid where “the issuing judge lacked a substantial basis for concluding that probable cause
17
     existed.” United States v. Underwood, 725 F.3d 1076, 1081 (9th Cir. 2013) (quotations and
18
     alterations omitted). When an affiant’s statements are “unsupported by underlying facts,” a
19
     warrant lacks probable cause. Id.; accord Gates, 462 U.S. at 239 (noting that “wholly
20
     conclusory” statements of officers are insufficient to establish probable cause); United States
21
     v. Cervantes, 703 F.3d 1135, 1139 (9th Cir. 2012) (recognizing that a “conclusory allegation,
22
     without any foundational facts . . . [is] entitled to little weight”). If an affidavit fails to provide
23
     foundational facts, an issuing judge cannot fulfill his or her duty to complete an independent
24
     review of the warrant See United States v. Leon, 468 U.S. 897, 914 (1984) (explaining that
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     the lack of neutral and detached review makes a reviewing judge “merely a rubber stamp for
26
     the police.”); United States v. Ventresca, 380 U.S. 102, 108-09 (1965) (recognizing that
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 1   magistrate must be provided foundational facts “to perform his detached function and not
 2   serve merely as a rubber stamp for the police”).
 3          The basis for probable cause must be contained within the application without
 4   reference to outside information. United States v. Rubio, 727 F.2d 786, 795 (9th Cir. 1984).
 5   A grand jury’s probable cause finding cannot serve as a proxy for a probable cause
 6   determination by a magistrate issuing a warrant. See id. at 794-95 (“Fourth Amendment
 7   requires that warrants may issue only upon a determination of probable cause by a neutral and
 8   detached magistrate.”).
 9          Although the Ninth Circuit allows a magistrate to consider an indictment, it cannot be
10   a substitute for facts in a warrant affidavit. Id. at 795. That is, a magistrate’s probable-cause
11   finding must be independent and cannot simply ratify an affiant’s conclusions. See Gates,
12   462 U.S. at 238; see also Rubio, 727 F.2d at 795 (“[W]arrant affidavit’s mere recitation of the
13   indictment is precisely that—the conclusion of another body, and a body whose function
14   differs substantially from the magistrate’s constitutional duty to assess probable cause.”). If
15   the government contends that the magistrate should consider evidence presented to the grand
16   jury in assessing probable cause, the government must present that evidence in its warrant
17   application. Cf. Rubio, 727 F.2d at 795 (“The facts upon which the magistrate bases his
18   probable cause determination must appear within the four corners of the warrant affidavit;
19   the warrant cannot be supported by outside information.”).
20
            B.     The Datto Warrant was not supported by probable cause so the magistrate
21                 erred in approving them.
22          The magistrate lacked a substantial basis to find probable cause because the Robinson
23   Affidavit provided no facts supporting the crimes allegedly committed by the Defendants.
24   Rather than outlining facts known to the affiant as is required, the affidavit summarizes and
25   incorporates the indictment. See Rubio, 727 F.2d at 795 (reversing convictions because
26   search warrant affidavit that referred to the indictment “furnished no basis whatsoever for
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 1   believing the defendants” had engaged in a pattern of racketeering); United States v. Bailey,
 2   327 F. Supp. 802, 806 (N.D. Ill. 1979) (denying order to compel defendants to provide
 3   government with handwriting exemplars because government failed to establish probable
 4   cause and recognizing that “the finding of probable cause for arrest of an individual that
 5   accrues from his being indicted does not . . . become the equivalent of a finding of probable
 6   cause for a warrant to search that person’s home, his car, or his business office”).
 7          In addition to improperly relying on the indictment, the Robinson Affidavit does not
 8   include any facts establishing that Defendants had the heightened scienter required to
 9   establish probable cause that they engaged in any Travel Act (or money laundering)
10   violations. (See Defs.’ Mot. to Dismiss, Doc. 561 at 37-48 (incorporated herein by reference
11   and explaining why the indictment is facially insufficient because it fails to provide any
12   allegations on the requisite scienter for the charged crimes); John Brunst’s Motion to Dismiss
13   Indictment Based on Failure to Allege Necessary Elements of the Travel Act, Doc. 746
14   (incorporated herein by reference and explaining why the indictment was insufficient for
15   alleging necessary elements of the Travel Act, including specific intent)). Because the
16   warrant application contains conclusory statements about generalized intent rather than facts
17   establishing Defendants’ knowledge and intent to engage in unlawful activity, the Datto
18   Warrant is facially invalid. See United States v. Weber, 923 F.2d 1338, 1345-46 (9th Cir.
19   1990) (reversing conviction and ruling that suppression was warranted where affidavit in
20   support contained only generalized conclusions about the behavior of child pornographers
21   rather than particular evidence suggesting that the defendant was a child pornographer);
22   Underwood, 725 F.3d at 1082-84 (affirming suppression where affidavit contained only
23   expert opinion and conclusory statements that defendant trafficked ecstasy); Cervantes, 703
24   F.3d at 1139-40 (reversing denial of suppression due to affiant’s failure to offer facts
25   establishing probable cause to believe that defendant’s home was a “narcotics stash
26   location”).
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 1          Moreover, Robinson’s “allegations” concerning aggregation and affiliation recite
 2   lawful conduct. Robinson states that Backpage used two marketing techniques, aggregation
 3   and affiliation, and briefly discusses Backpage’s purported efforts at those techniques. (See
 4   Ex. B at ¶¶ IV.5.a, b.) However, Robinson does not provide any factual information tying
 5   those techniques to criminality. (See id. at ¶ IV.5.c.) Because Robinson does not set forth
 6   any facts tying these marketing efforts to criminality or criminal intent of any kind, the court’s
 7   probable cause finding was in error.
 8          The Robinson Affidavit fails to establish probable cause to believe that the email
 9   addresses subject to the Datto Warrant contain evidence of criminality. Robinson does not
10   provide factual information indicating that these particular email addresses were associated
11   with individuals who engaged in criminality. Nor did he provide factual information
12   indicating that those individuals used the email addresses to facilitate their criminal conduct.
13   Instead, it appears that the government sought the contents of these email addresses solely
14   because they were “the top 20 or so accounts” that generated the data stored at Datto. (Id. at ¶
15   V.) There is nothing unlawful about being associated with a high-volume email address.
16           Finally, the affidavits are void of any facts that establish probable cause to believe that
17   Defendants knowingly and intentionally promoted/facilitated a “business enterprise”
18   involving prostitution. (See Brunst’s Mot. To Dismiss, Doc. 746 at 9-11.) Critically, the
19   government must provide facts to the issuing magistrate indicating that the targets of the
20   warrants knowingly and intentionally engaged in (or facilitated, promoted, etc.) “unlawful
21   activity.” 18 U.S.C. § 1952(a)(3). The plain text of the Travel Act defines “unlawful activity”
22   as “any business enterprise involving . . . prostitution offenses.” 18 U.S.C. § 1952(b). The
23   affidavits contain no facts concerning a specific criminal “business enterprise” or that the
24   targets of the warrants knowingly and specifically intended to facilitate or promote a
25   particular “business enterprise.” As a result, the issuing magistrate erred in authorizing the
26   warrants.
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     III.      The Datto Warrant is insufficiently particular.
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               In addition to establishing probable cause, a warrant must be sufficiently particular.
 2
     See United States v. SDI Future Health, Inc., 568 F.3d 684, 702 (9th Cir. 2009). To be
 3
     particular, a “warrant must clearly state what is sought.” Id. Further, a warrant that is broader
 4
     in scope than the probable cause upon which it is based is defective. Id. The particularity
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     and breadth requirements protect a citizen’s Fourth Amendment’s privacy rights by
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     preventing the government from conducting “general, exploratory rummaging in a person’s
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     belongings.” Weber, 923 F.2d at 1342. The Datto Warrant violates the particularity
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     requirement because it does not sufficiently specify the items sought and is overbroad.
 9
               The description of the items to be seized “must be specific enough to enable the person
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     conducting the search reasonably to identify the things authorized to be seized.” United States
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     v. Spilotro, 800 F.2d 959, 963 (9th Cir. 1986); see also United States v. Bridges, 344 F.3d
12
     1010, 1017 (9th Cir. 2003) (“The executing officer must be able to identify from the face of
13
     the warrant, as well as any attached or expressly incorporated documents, what it is that they
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     are being asked to search for and seize from the targeted property.”). The following search
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     terms, limited to the period 2004-2018, fail to provide adequate specificity:
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17
        • Correspondence and files regarding “Backpage.com, related companies and websites
18        (including partner sites), their control, finances, and operations”;
19
        • Correspondence and files regarding the “sale of Backpage.com and related entities”; and
20
            • Bank and financial information concerning “Backpage.com or related business entities,
21            including holding companies.”
22

23   (Ex. A (emphasis added).)

24             These descriptions gave the searching agents unfettered discretion to decide what to

25   seize and examine in violation of the Fourth Amendment. The Datto Warrant does not define

26   the terms Backpage “related companies,” “websites,” “partner sites,” “related business

27   entities,” or “holding companies.” Without a list of Backpage’s subsidiaries, affiliates,

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 1   websites, partner sites, and related business entities, the searching agents had no information
 2   from the warrant setting forth what items should be seized under these search terms. Although
 3   the Robinson Affidavit identified a handful of companies, these search terms were not limited
 4   to those companies by either the Robinson Affidavit or the Datto Warrant.
 5
     IV.    Defendants are entitled to a Franks hearing because the Robinson Affidavit
 6
            underlying the Datto Warrant contains material misstatements and omissions.
 7
            Because the Robinson Affidavit omitted significant information material to the issuing
 8
     magistrate’s probable-cause determination, Defendants are entitled to a hearing on the
 9
     validity of the affidavit under Franks v. Delaware, 438 U.S. 154 (1978). In Franks v.
10
     Delaware, the Supreme Court held that a defendant is entitled to an evidentiary hearing where
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     there is evidence that a search conducted pursuant to a warrant was based on a supporting
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     affidavit that contains intentional or reckless material misstatements of fact or omissions. See
13
     Franks, 438 U.S. at 171-72.
14
            Since Franks, the Ninth Circuit held that a defendant is entitled to an evidentiary
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     hearing to challenge the veracity of an affidavit when the defendant preliminarily
16
     demonstrates that an affidavit contains “intentionally or recklessly false statements” and that
17
     without those falsities the government cannot support a probable cause finding sufficient to
18
     issue a search warrant. United States v. Stanert, 762 F.2d 775, 780 (9th Cir. 1985) (quotations
19
     omitted). Clear proof of deliberate or reckless falsity is not required. See United States v.
20
     Gonzalez, Inc., 412 F.3d 1102, 1111 (9th Cir. 2005). Instead, to trigger a hearing, a defendant
21
     must offer evidence supporting “a finding of intent or recklessness”. Id. Once a defendant
22
     makes that preliminary showing, the district court “must hold a hearing to determine if any
23
     false statements deliberately or recklessly included in the affidavit were material to the
24
     magistrate’s finding of probable cause.” United States v. Johns, 851 F.2d 1131, 1133 (9th
25
     Cir. 1988).
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 1          Half-truths like those in the affidavits offered in support of the Datto Warrant
 2   improperly allow a search warrant affiant to “manipulate the inferences a magistrate will
 3   draw.” Stanert, 762 F.2d at 781; see also Chism v. Washington State, 661 F.3d 380, 388 (9th
 4   Cir. 2011) (recognizing that an officer acts recklessly when the affidavit does not report
 5   important factual information that was within the officer’s knowledge at the time the affidavit
 6   was prepared). When an omission is essential to the finding of probable cause, recklessness
 7   may be inferred from the omission itself. See Madiwale v. Savaiko, 117 F.3d 1321, 1327
 8   (11th Cir. 1994). A defendant is entitled to a Franks hearing even if the misstatements or
 9   omissions are not the affiant’s fault. See United States v. DeLeon, 979 F.2d 761, 764 (9th
10   Cir. 1992); accord Johns, 851 F.2d at 1134 n.1.
11          If a defendant prevails on a Franks challenge, the evidence seized must be suppressed
12   without application of the “good faith” rule. See United States v. Leon, 468 U.S. 897, 922
13   (1984); accord United States v. DeLeon, 979 F.2d 761, 763 (9th Cir. 1992).
14          Here, Defendants are entitled to a Franks hearing challenging the veracity of the
15   Robinson Affidavit that underlies the Datto Warrant because the affidavit contains material
16   misrepresentations and omissions. The most serious omission is that the affidavit ignores
17   cases holding that the First Amendment protects online classified advertising sites generally,
18   and Backpage in particular. This omission is critical because all allegations of unlawful
19   conduct hinge on claims that advertisements posted to Backpage violated state prostitution
20   laws. If publishing third-party advertisements for purported illegal activities is not unlawful
21   (without more), there is no predicate for the affiant’s claims that publishing third-party adult
22   ads violated the Travel Act or that resulting financial transactions violated federal money
23   laundering laws.
24          At the time the Robinson Affidavit was written, the government knew that courts in
25   California had rejected the specific theory on which all of the allegations in the affidavit is
26   based; that is, that publishing classified ads for adult services violates state law prohibiting
27

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 1   prostitution.3 See People v. Ferrer, 2016 WL 7237305, at *3 (Sup. Ct. Sacramento Cnty.
 2   Dec. 9, 2016) (“Ferrer I”) (recognizing that “the relevant question in this case is whether, and
 3   to what extent, Defendants’ activities entitle them to protection of their First Amendment
 4   rights through the immunity provision of the CDA” (emphasis added)).
 5          The affidavit disingenuously claim that Defendants’ mere publishing of the ads
 6   establish probable cause that Backpage facilitated prostitution in violation of state law. (See
 7   Ex. B.) However, the government knows that publishing and editing third-party ads is
 8   protected under the First Amendment. Indeed, moderation falls under “traditional editorial
 9   functions,” and constitutes protected speech, even when terms or images are deleted and the
10   remaining portion of an advertisement is published. See Ferrer I, 2016 WL 7237305, at *3.
11          The search warrant affidavits also intentionally fail to disclose that numerous courts
12   have rejected claims that adult advertisements are synonymous with prostitution or
13   trafficking. See Backpage.com, LLC v. Dart, 807 F.3d 229, 234 (7th Cir. 2015) (“[N]ot all
14   advertisements for sex are advertisements for illegal sex.”).4 The government concealed this
15   3
           Indeed, the government has stated that it “partner[ed]” with the California Attorney
16   General’s Office in their efforts to shut down Backpage. See April 9, 2018 DOJ Press
     Release, available at https://www.justice.gov/opa/pr/justice-department-leads-effort-seize-
17   backpagecom-internet-s-leading-forum-prostitution-ads (last visited on Oct. 9, 2019).
18   4
             Accord Doe v. Backpage.com LLC, 104 F Supp. 3d 149, 156-57 (D. Mass. 2015),
19   aff’d, 817 F.3d 12 (1st Cir. 2016) (“The existence of an escorts section in a classified ad
     service, whatever its social merits, is not illegal.”); Backpage.com, LLC v. McKenna,
20   881 F. Supp. 1262, 1282 (W.D. Wash. 2012) (escort ads have long been permitted and
21   escort services are licensed and regulated in many states); Backpage. com, LLC v.Cooper,
     939 F. Supp. 805, 816, 833-34 (D. Tenn. 2013) (ads on Backpage.com are protected speech
22   under the First Amendment); Backpage.com, LLC v. Hoffman, 2013 WL 4502097, at *9-
     11 (D.N.J. 2013) (rejecting argument that escort ads on the website are unprotected
23
     speech); M.A. v. Village Voice Media Holdings, LLC, 809 F. Supp. 2d 1041, 1049-50
24   (E.D. Mo. 2011); see also Dart v. Craigslist, Inc., 665 F. Supp. 2d 961, 968 (N.D. Ill.
     2009) (“We disagree . . . that the ‘adult services’ section is a special case. The phrase
25   ‘adult,’ even in conjunction with ‘services,’ is not unlawful in itself nor does it
26   necessarily call for unlawful content.”); Cohen v. Bd. of Supervisors, 707 P.2d 840, 852
     (Cal. 1985) (“An escort service may very well involve lawful activities relating to sex.”
27   (internal quotations omitted)).
28                                                 15
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 1   case law, rather than disclose it to the issuing magistrate, and, at the same time, improperly
 2   equated the terms “erotic” and “adult services” with prostitution. (See Ex. B at ¶ IV.5.a.) The
 3   concealed cases should have been weighed by the judge considering probable cause for the
 4   Datto Warrant, and the omission of them renders the Datto Warrant materially misleading.
 5   Indeed, the government knew and should have advised the issuing magistrate that, when the
 6   government seeks to hold a party accountable for third-party speech, the First Amendment
 7   constrains the government and imposes heightened scienter requirements separate from those
 8   in any applicable statutes.
 9          Similarly, the Robinson Affidavit alleges that Defendants, Ferrer, and former
10   Backpage employees knowingly facilitated prostitution. (See Ex. B.) This assertion ignores
11   the long line of cases requiring a heightened proof of scienter when the government seeks to
12   hold a publisher liable for publishing the speech of a third party as well as cases indicating
13   that a heightened proof of scienter is required for Travel Act violations. (See Defs.’ Mot. to
14   Dismiss, Doc. 561; Brunst’s Mot. To Dismiss, Doc. 746 at 9-11.) These omissions, too, are
15   materially misleading.
16          Due to the government’s material misstatements and omissions in materials supporting
17   its request for the Datto Warrant, Defendants are entitled to a Franks hearing. This hearing
18   will establish the veracity of the affidavit underlying the Datto Warrant and show that the
19   government’s material omissions would have undermined the magistrate’s probable-cause
20   finding. See United States v. Perkins, 583 F. App’x 796, 797 (9th Cir. 2014) (vacating
21   conviction and remanding for Franks hearing where affidavit to search home for child
22   pornography omitted information that Canadian officials had indicated that the images “had
23   no obvious sexual purpose” and failed to provide that magistrate with the images).
24   /
25   /
26

27

28                                                 16
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 1                                             CONCLUSION
 2          For all these reasons, this Court should: (1) suppress the evidence obtained from
 3   execution of the Datto Warrant and any evidence derived from them; and, to the extent
 4   required, (2) hold a Franks hearing for Defendants to demonstrate that the Robinson Affidavit
 5   in support of the Datto Warrant contains material misstatements and omissions in violation
 6   of the Fourth Amendment.
 7
            RESPECTFULLY SUBMITTED this 23rd day of December, 2019,
 8
 9                                        /s/    Paul J. Cambria, Jr.
10                                               Paul J. Cambria, Jr.
                                                 Erin E. McCampbell
11
                                                 LIPSITZ GREEN SCIME CAMBRIA LLP
12                                               Attorneys for Defendant Michael Lacey
13

14

15

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     Reginald Jones, reginald.jones4@usdoj.gov
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     Peter Kozinets, peter.kozinets@usdoj.gov
24   John Kucera, john.kucera@usdoj.gov
25   Margaret Perlmeter, margaret.perlmeter@usdoj.gov
     Patrick Reid, Patrick.Reid@usdoj.gov
26
     Andrew Stone, andrew.stone@usdoj.gov
27   Amanda Wick, Amanda.Wick@usdoj.gov
28                                                 17
